                             Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 1 of 49

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Robs Bar & Grill, LLC



    2. All other names debtor used                Coaches Midtown Pub
       in the last 8 years
                                                  Coaches Pub
     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   8      8 – 2    2   7    3   6    2   7
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business

                                                   2204 Louisiana St. Suite C&D                                3833 Dunlavy Apt 226
                                                   Number          Street                                      Number        Street



                                                                                                               P.O. Box
                                                   Houston, TX 77002
                                                   City                                  State   ZIP Code       Houston, TX 77006
                                                                                                               City                              State      ZIP Code


                                                   Harris                                                      Location of principal assets, if different from principal
                                                   County                                                      place of business


                                                                                                               Number        Street




                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     www.coachespubmidtown.com



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:



Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor      Robs Bar & Grill, LLC                                                                            Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    7     2   2   5

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                        MM / DD / YYYY
                                                         Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                            Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 3 of 49

Debtor        Robs Bar & Grill, LLC                                                                      Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone

          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets
                                       ✔ $0-$50,000
                                       ❑                                     ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
                             Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 4 of 49

Debtor        Robs Bar & Grill, LLC                                                                            Case number (if known)
             Name



                                            ❑ $0-$50,000                              ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ✔ $100,001-$500,000
                                            ❑                                         ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     07/28/2023
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Robert Curry                                                   Printed name
                                                                                                                                           Robert Curry
                                                   Signature of authorized representative of debtor


                                                   Title                         Owner



         18. Signature of attorney
                                               ✘                        /s/ Robert C Lane                           Date      07/28/2023
                                                                                                                              MM/ DD/ YYYY
                                                   Signature of attorney for debtor



                                                    Robert C Lane
                                                   Printed name

                                                    The Lane Law Firm
                                                   Firm name

                                                    6200 Savoy Dr Ste 1150
                                                   Number          Street


                                                    Houston                                                            TX              77036-3369
                                                   City                                                               State            ZIP Code



                                                    (713) 595-8200                                                      notifications@lanelaw.com
                                                   Contact phone                                                       Email address



                                                    24046263                                                            TX
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:

 Debtor name                             Robs Bar & Grill, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand                                                                                                                                     $1,500.00

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)              Type of account                 Last 4 digits of account number
       3.1 Navy Federal Credit Union                                 Checking account                       2440                                           $0.00

       Additional Page Total - See continuation page for additional entries                                                                              $693.43

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                        $2,193.43
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ❑ No. Go to Part 3.
       ✔ Yes. Fill in the information below.
       ❑
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       7.1 Robs Bar & Grill, LLC                                                                                                                       $13,373.00




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                         page 1
                             Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 6 of 49

Debtor        Robs Bar & Grill, LLC                                                                              Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                       $13,373.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                                      -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts



         11b. Over 90 days old:                                         -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                             $0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
                             Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 7 of 49

Debtor       Robs Bar & Grill, LLC                                                                        Case number (if known)
             Name



         None


  17. Total of Part 4
                                                                                                                                                      $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                Date of the last        Net book value of    Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest    for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         22.1 Burgers (85 patties)                                                           (Unknown)                                             $106.25
                                                                MM / DD / YYYY


         Additional Page Total - See continuation page for additional entries                                                                    $7,667.45

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                   $7,773.70


  24. Is any of the property listed in Part 5 perishable?
         ❑ No
         ✔ Yes
         ❑
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                    page 3
                             Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 8 of 49

Debtor       Robs Bar & Grill, LLC                                                                       Case number (if known)
             Name



  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                         $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
                             Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 9 of 49

Debtor       Robs Bar & Grill, LLC                                                                       Case number (if known)
             Name



  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         39.1 Silverware Sets (12 dozen)                                                   (Unknown)                                              $192.00


         Additional Page Total - See continuation page for additional entries                                                                   $2,138.00

  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         41.1 Phone                                                                        (Unknown)                                               $35.00


         Additional Page Total - See continuation page for additional entries                                                                  $14,370.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                               $16,735.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
                             Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 10 of 49

Debtor        Robs Bar & Grill, LLC                                                                          Case number (if known)
             Name



  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                         $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                         $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
                            Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 11 of 49

Debtor       Robs Bar & Grill, LLC                                                                       Case number (if known)
             Name


  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         61.1 www.coachespubmidtown.com                                                    (Unknown)                                                 $1.00


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                     $1.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
                            Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 12 of 49

Debtor        Robs Bar & Grill, LLC                                                                      Case number (if known)
             Name




 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

              Unauthorized withdrawal from checking account by loan                                                                            (Unknown)
         74.1 broker
         Nature of Claim     Theft of funds
         Amount Requested        $5,750.00


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
                                Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 13 of 49

Debtor        Robs Bar & Grill, LLC                                                                                                  Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                 $2,193.43

  81. Deposits and prepayments. Copy line 9, Part 2.                                                        $13,373.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                        $7,773.70

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                      $16,735.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $1.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                    $40,076.13        + 91b.                           $0.00



                                                                                                                                                                         $40,076.13
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                              page 9
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Debtor       Robs Bar & Grill, LLC                                                                   Case number (if known)
            Name



          Additional Page


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of debtor's
                                                                                                                              interest

  3.   Checking, savings, money market, or financial brokerage accounts - Continued
       Name of institution (bank or brokerage firm)        Type of account                 Last 4 digits of account number
       3.2 Navy Federal Credit Union                            Checking account                      6191                                   $687.53

       3.3 Navy Federal Credit Union                            Savings account                       5590                                      $0.00

       3.4 Navy Federal Credit Union                            Savings account                       1691                                      $5.90


         General description                           Date of the last      Net book value of     Valuation method used      Current value of debtor's
                                                       physical inventory    debtor's interest     for current value          interest
                                                                             (Where available)
  22. Other inventory or supplies - Continued
         22.2 Ground Beef (35 lbs)                                                    (Unknown)                                                $87.50
                                                          MM / DD / YYYY

         22.3 Wings (6 cases)                                                         (Unknown)                                               $414.00
                                                          MM / DD / YYYY

         22.4 Tenders (2 cases)                                                       (Unknown)                                               $180.00
                                                          MM / DD / YYYY

         22.5 Bread (7 Loafs)                                                         (Unknown)                                                $40.95
                                                          MM / DD / YYYY

         22.6 Cheese (39 lbs)                                                         (Unknown)                                               $390.00
                                                          MM / DD / YYYY

         22.7 Sauces (15 Gallons)                                                     (Unknown)                                               $300.00
                                                          MM / DD / YYYY

         22.8 Appetizers (4 cases assorted)                                           (Unknown)                                               $360.00
                                                          MM / DD / YYYY

         22.9 Fries (7 cases)                                                         (Unknown)                                               $175.00
                                                          MM / DD / YYYY

         22.10                                                                        (Unknown)                                               $500.00
          Beer (20 cases)                                 MM / DD / YYYY

         22.11                                                                        (Unknown)                                             $1,620.00
          Kegs (27)                                       MM / DD / YYYY

         22.12                                                                        (Unknown)                                             $1,300.00
          Liquor (49 unopen bottles)                      MM / DD / YYYY

         22.13                                                                        (Unknown)                                             $2,300.00
          Liquor (82 open bottles)                        MM / DD / YYYY

         General description                                                 Net book value of     Valuation method used      Current value of debtor's
                                                                             debtor's interest     for current value          interest
                                                                             (Where available)

  39. Office furniture - Continued
         39.2 Glassware (344)                                                         (Unknown)                                               $688.00

         39.3 Pitchers (32)                                                           (Unknown)                                               $160.00

         39.4 Desk                                                                    (Unknown)                                                $25.00




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                  page 10
                             Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 15 of 49

Debtor       Robs Bar & Grill, LLC                                                       Case number (if known)
             Name



          Additional Page


         39.5 Chairs (100)                                                (Unknown)                                 $500.00


         39.6 Computer                                                    (Unknown)                                 $300.00


         39.7 Monitor                                                     (Unknown)                                  $40.00


         39.8 Filing Cabinet                                              (Unknown)                                  $25.00


         39.9 Tables (20)                                                 (Unknown)                                 $400.00


  41. Office equipment - Continued

         41.2 Printer (2)                                                 (Unknown)                                 $150.00


         41.3 Keg Coolers (4)                                             (Unknown)                               $1,800.00


         41.4 Reach in Coolers (2)                                        (Unknown)                                 $700.00


         41.5 Coffee Machine                                              (Unknown)                                 $100.00


         41.6 Jager Machine                                               (Unknown)                                 $200.00


         41.7 Soda System                                                 (Unknown)                                 $300.00


         41.8 Flat Top Grill                                              (Unknown)                                 $600.00


         41.9 Char Grill                                                  (Unknown)                                 $700.00


         41.10 Oven                                                       (Unknown)                                 $300.00


         41.11 Microwave                                                  (Unknown)                                 $300.00


         41.12 Ice Machine                                                (Unknown)                               $1,200.00


         41.13 Pots and Pans (42)                                         (Unknown)                               $1,470.00


         41.14 Fryers (2)                                                 (Unknown)                               $1,000.00


         41.15 Freezer (3)                                                (Unknown)                                 $450.00


         41.16 Televisions (21)                                           (Unknown)                               $4,200.00


         41.17 Speakers (4)                                               (Unknown)                                 $400.00


         41.18 Cameras (7)                                                (Unknown)                                 $350.00




Official Form 206A/B                           Schedule A/B: Assets — Real and Personal Property                  page 11
                          Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 16 of 49

Debtor       Robs Bar & Grill, LLC                                                    Case number (if known)
            Name



          Additional Page


         41.19 Fans (6)                                                (Unknown)                                 $150.00




Official Form 206A/B                        Schedule A/B: Assets — Real and Personal Property                  page 12
                          Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 17 of 49
 Fill in this information to identify the case:

     Debtor name     Robs Bar & Grill, LLC

     United States Bankruptcy Court for the:                 Southern                District of             Texas
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                           Column A                       Column B
        than one secured claim, list the creditor separately for each claim.                                               Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                           $34,213.57              unknown
         Alternative Funding Group Corp

        Creditor’s mailing address
         1000 NW 65th Street Suite 100
         Fort Lauderdale, FL 33309
                                                             Describe the lien
        Creditor’s email address, if known                   Merchant Cash Advance

                                                             Is the creditor an insider or related party?
        Date debt was                                        ✔ No
                                                             ❑
        incurred
                                                             ❑ Yes
        Last 4 digits of                                     Is anyone else liable on this claim?
        account
                                                             ✔ No
                                                             ❑
        number
                                                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest
        in the same property?                  As of the petition filing date, the claim is:

        ✔ No
                                                             Check all that apply.
        ❑
        ❑ Yes. Specify each creditor, including this         ❑ Contingent
                 creditor, and its relative priority.        ❑ Unliquidated
                                                             ✔ Disputed
                                                             ❑




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                                   $64,663.57
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
                      Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 18 of 49
Debtor     Robs Bar & Grill, LLC                                                                  Case number (if known)
          Name




  Part 1:        Additional Page                                                                                   Column A                      Column B
                                                                                                                   Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                   Do not deduct the value       that supports this
 from the
                                                                                                                   of collateral.                claim
 previous page.

2.2 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                     lien                                                                           $30,450.00            unknown
      DMKA LLC dba The Smarter
      Merchant

     Creditor’s mailing address
      345 7th Avenue
      New York, NY 10001                             Describe the lien
                                                     Merchant Cash Advance
     Creditor’s email address, if known
                                                     Is the creditor an insider or related party?
                                                     ✔ No
                                                     ❑
     Date debt was
                                                     ❑ Yes
     incurred
                                                     Is anyone else liable on this claim?
     Last 4 digits of
     account
                                                     ❑ No
                                                     ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                     ❑
     number

     Do multiple creditors have an interest As of the petition filing date, the claim is:
                                            Check all that apply.
     in the same property?
     ✔ No
     ❑                                               ❑ Contingent
     ❑ Yes. Have you already specified the           ❑ Unliquidated
              relative priority?                     ✔ Disputed
                                                     ❑
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 2
                            Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 19 of 49

 Fill in this information to identify the case:

 Debtor name                             Robs Bar & Grill, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:   $55,957.92                    $55,957.92
                                                              Check all that apply.
       Internal Revenue Service
                                                              ❑ Contingent
       P.O. Box 7346                                          ❑ Unliquidated
       Philadelphia, PA 19101-7346
                                                              ❑ Disputed
                                                              Basis for the Claim:
       Date or dates debt was incurred
                                                               Payroll Taxes

                                                              Is the claim subject to offset?
       Last 4 digits of account                               ✔ No
                                                              ❑
       number                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)

2.2 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:   $47,048.99                    $47,048.99
                                                              Check all that apply.
       Texas Comptroller of Public Accountants
                                                              ❑ Contingent
       PO Box BOX 12548, MC-008                               ❑ Unliquidated
       Austin, TX 78711
                                                              ❑ Disputed
                                                              Basis for the Claim:
       Date or dates debt was incurred
                                                               Sales Tax

                                                              Is the claim subject to offset?
       Last 4 digits of account                               ✔ No
                                                              ❑
       number                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of 5
                         Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 20 of 49

Debtor     Robs Bar & Grill, LLC                                                                      Case number (if known)
           Name




 Part 1: Additional Page

2.3 Priority creditor’s name and mailing address      As of the petition filing date, the claim is:   $1,664.22                $1,664.22
                                                      Check all that apply.
      Texas Workforce Commission
                                                      ❑ Contingent
      PO BOX 12548, MC-008                            ❑ Unliquidated
      Austin, TX 78711
                                                      ❑ Disputed
                                                      Basis for the Claim:
     Date or dates debt was incurred
                                                       Payroll Taxes

                                                      Is the claim subject to offset?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       page 2 of 5
                            Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 21 of 49

Debtor        Robs Bar & Grill, LLC                                                                           Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $7,267.00
                                                                            Check all that apply.
       2204 Interests, LTD
                                                                            ❑ Contingent
       c/o Greenberg & Company                                              ❑ Unliquidated
                                                                            ❑ Disputed
       5959 Richmond Suite 440                                              Basis for the claim: 1/2 Payment of Rent Due
       Houston, TX 77057                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $29,099.00
                                                                            Check all that apply.
       GFG Merchant Solutions LLC
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
       180 Maiden Lane 15th Floor
                                                                            ✔ Disputed
                                                                            ❑
       New York, NY 10038
                                                                            Basis for the claim: Merchant Cash Advance
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
       Specs
                                                                            ❑ Contingent
       2410 Smith Street                                                    ❑ Unliquidated
                                                                            ❑ Disputed
       Houston, TX 77006
                                                                            Basis for the claim: Services
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $37,866.60
3.4                                                                         Check all that apply.
       Vox Funding
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
       14 E. 44th Street 4th Floor
                                                                            ✔ Disputed
                                                                            ❑
       New York, NY 10017
                                                                            Basis for the claim: Merchant Cash Advance
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page 3 of 5
                             Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 22 of 49

Debtor        Robs Bar & Grill, LLC                                                                           Case number (if known)
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     GFG Merchant Solutions LLC                                                  Line 3.2

         201 Route 17 North Suite 805                                                ❑ Not listed. Explain
         Rutherford, NJ 07070




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 4 of 5
                          Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 23 of 49

Debtor       Robs Bar & Grill, LLC                                                                Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $104,671.13




  5b. Total claims from Part 2                                                     5b.              $74,232.60
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $178,903.73
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 5 of 5
                            Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 24 of 49

 Fill in this information to identify the case:

 Debtor name                             Robs Bar & Grill, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                         Chapter   11                                                     ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            Building Restaurant Space                    2204 Interests, LTD
2.1    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       c/o Greenberg & Company
                                                                                          5959 Richmond Suite 440
       State the term remaining              46 months
                                                                                          Houston, TX 77057
       List the contract number of
       any government contract

       State what the contract or
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 1
                        Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 25 of 49
 Fill in this information to identify the case:

  Debtor name          Robs Bar & Grill, LLC


  United States Bankruptcy Court for the:              Southern            District of             Texas

                                                                                                                                     ❑ Check if this is an
                                                                                         (State)
  Case number (If known):
                                                                                                                                          amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                                Name
                                                                                                                                      that apply:

 2.1     Curry, Robert                      3833 Dunlavy Apt 226                                           Vox Funding                ❑D
                                            Street                                                                                    ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                            Houston, TX 77006                                              DMKA LLC dba The           ✔D
                                                                                                                                      ❑
                                            City                   State                  ZIP Code
                                                                                                           Smarter Merchant           ❑ E/F
                                                                                                                                      ❑G
                                                                                                           GFG Merchant Solutions     ❑D
                                                                                                           LLC                        ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
 2.2                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                   State                  ZIP Code

 2.3                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                   State                  ZIP Code

 2.4                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                   State                  ZIP Code




Official Form 206H                                                  Schedule H: Codebtors                                                      page 1 of    2
                     Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 26 of 49
Debtor      Robs Bar & Grill, LLC                                                         Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
                                      Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 27 of 49


 Fill in this information to identify the case:

 Debtor name                                            Robs Bar & Grill, LLC

 United States Bankruptcy Court for the:
                                           Southern District of Texas


 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                              $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                          $40,076.13

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                          $40,076.13




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                          $64,663.57



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                          $104,671.13


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +              $74,232.60




 4. Total liabilities..............................................................................................................................................................................                    $243,567.30

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
                            Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 28 of 49

 Fill in this information to identify the case:

 Debtor name                              Robs Bar & Grill, LLC

 United States Bankruptcy Court for the:
                                  Southern District of Texas


 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                     $480,296.00
                                                                                         ❑ Other
       fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                   From 01/01/2022          to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                     $494,431.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:         From 01/01/2021          to    12/31/2021       ❑ Operating a business
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:         From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




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                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                         Dates             Total amount or value         Reasons for payment or transfer
                                                                                                             Check all that apply

 3.1.   Vox Funding                                          07/25/2023                  $21,300.03          ❑ Secured debt
        Creditor's name                                                                                      ✔ Unsecured loan repayments
                                                                                                             ❑
        14 E. 44th Street 4th Floor
        Street
                                                                                                             ❑ Suppliers or vendors
                                                                                                             ❑ Services
                                                                                                             ❑ Other
        New York, NY 10017
        City                             State   ZIP Code

 3.2.   Alternative Funding Group Corp                       07/25/2023                  $18,571.40          ❑ Secured debt
        Creditor's name                                                                                      ✔ Unsecured loan repayments
                                                                                                             ❑
        1000 NW 65th Street Suite 100
        Street
                                                                                                             ❑ Suppliers or vendors
                                                                                                             ❑ Services
                                                                                                             ❑ Other
        Fort Lauderdale, FL 33309
        City                             State   ZIP Code

 3.3.   GFG Merchant Solutions LLC                           07/25/2023                   $8,376.04          ❑ Secured debt
        Creditor's name                                                                                      ✔ Unsecured loan repayments
                                                                                                             ❑
        180 Maiden Lane 15th Floor
        Street
                                                                                                             ❑ Suppliers or vendors
                                                                                                             ❑ Services
                                                                                                             ❑ Other
        New York, NY 10038
        City                             State   ZIP Code

 3.4.   The Smarter Merchant                                 07/25/2023                  $20,300.00          ❑ Secured debt
        Creditor's name                                                                                      ✔ Unsecured loan repayments
                                                                                                             ❑
        345 7th Avenue
        Street
                                                                                                             ❑ Suppliers or vendors
                                                                                                             ❑ Services
                                                                                                             ❑ Other
        New York, NY 10011
        City                             State   ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                          Dates             Total amount or value         Reasons for payment or transfer




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 4.1.   Curry, Robert                                        07/27/2023                   $96,750.19            Owner Distributions and salary
        Creditor's name
        3833 Dunlavy Apt 226
        Street



        Houston, TX 77006
        City                             State   ZIP Code

         Relationship to debtor

        Owner



 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                         Description of the property                               Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                             State   ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                         Description of the action creditor took                   Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                              XXXX–
        Street




        City                             State   ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ✔ None
        ❑




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 7.1.    Case title                                Nature of case                         Court or agency's name and address                Status of case

                                                                                                                                          ❑ Pending
                                                                                       Name
                                                                                                                                          ❑ On appeal
         Case number                                                                   Street
                                                                                                                                          ❑ Concluded


                                                                                       City                         State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                       Description of the property                       Value


        Custodian’s name
                                                            Case title                                        Court name and address
        Street
                                                                                                             Name

                                                            Case number                                      Street
        City                             State   ZIP Code



                                                            Date of order or assignment                      City                        State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ✔ None
        ❑
 9.1.    Recipient’s name and address                        Description of the gifts or contributions                Dates given        Value


        Recipient’s name


        Street




        City                             State   ZIP Code


         Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
        ✔ None
        ❑




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           Description of the property lost and how the           Amount of payments received for the loss                     Date of loss    Value of property
           loss occurred                                          If you have received payments to cover the loss, for                         lost
                                                                  example, from insurance, government compensation,
                                                                  or tort liability, list the total received.
                                                                  List unpaid claims on Official Form 106A/B (Schedule
                                                                  A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?               If not money, describe any property transferred         Dates               Total amount or
                                                                                                                                               value

         The Lane Law Firm                                        Attorney’s Fee                                          06/28/2023                   $10,000.00


          Address                                                 Attorney's Fee                                          07/26/2023                   $15,000.00

         6200 Savoy Suite 1150
         Street


         Houston, TX 77036
         City                             State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Robs Bar & Grill LLC




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                               Describe any property transferred                       Dates transfers       Total amount or
                                                                                                                         were made             value




           Trustee




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 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                          Description of property transferred or payments           Date transfer     Total amount or
                                                              received or debts paid in exchange                        was made          value




          Address


         Street




         City                           State    ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                           Dates of occupancy

 14.1.                                                                                                     From                     To
         Street




         City                           State    ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.




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          Facility name and address                       Nature of the business operation, including type of services the         If debtor provides meals
                                                          debtor provides                                                          and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                          Location where patient records are maintained(if different from          How are records kept?
                                                          facility address). If electronic, identify any service provider.
         City                      State     ZIP Code                                                                             Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                    Does the debtor have a privacy policy about that information?
                    ❑ No
                    ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                          Has the plan been terminated?
                          ❑ No
                          ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ✔ None
         ❑
          Financial institution name and address            Last 4 digits of account     Type of account             Date account was          Last balance
                                                            number                                                   closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer

 18.1                                                       XXXX–                       ❑ Checking
         Name
                                                                                        ❑ Savings
         Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
         City                        State   ZIP Code



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                  Name
 19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         ✔ None
         ❑
 19.1     Depository institution name and address              Names of anyone with access to it         Description of the contents               Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                               Address

         City                        State        ZIP Code


 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
         debtor does business.
         ✔ None
         ❑
 20.1     Facility name and address                            Names of anyone with access to it         Description of the contents               Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                               Address

         City                        State        ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                    Location of the property                 Description of the property                 Value


         Name


         Street




         City                             State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.




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     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                                   Court or agency name and address                   Nature of the case                       Status of case

                                                                                                                                                 ❑ Pending
         Case number
                                                     Name
                                                                                                                                                 ❑ On appeal
                                                     Street
                                                                                                                                                 ❑ Concluded


                                                     City                       State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                        Governmental unit name and address                 Environmental law, if known              Date of notice


      Name                                           Name


      Street                                         Street




      City                    State    ZIP Code      City                       State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                        Governmental unit name and address                 Environmental law, if known              Date of notice


      Name                                           Name


      Street                                         Street




      City                    State    ZIP Code      City                       State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
      information even if already listed in the Schedules.
      ✔ None
      ❑




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           Business name and address                     Describe the nature of the business                       Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
 25.1.
                                                                                                                  EIN:          –
          Name
                                                                                                                   Dates business existed
          Street
                                                                                                                  From                 To



          City                   State    ZIP Code


 26. Books, records, and financial statements
 26a.      List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           ✔None
           ❑
            Name and address                                                                                        Dates of service

 26a.1.
                                                                                                                   From                 To
           Name


           Street




           City                                              State                  ZIP Code


 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address                                                                                        Dates of service

 26b.1.
                                                                                                                   From                 To
           Name


           Street




           City                                              State                  ZIP Code


 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ✔None
           ❑
            Name and address                                                                                        If any books of account and records are
                                                                                                                    unavailable, explain why
 26c.1.


           Name


           Street




           City                                              State                  ZIP Code

 26d.    List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
         ✔None
         ❑



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           Name and address

 26d.1.
          Name


          Street




          City                                             State                ZIP Code


 27. Inventories
      Have any inventories of the debtor’s property been taken within 2 years before filing this case?
      ❑ No
      ✔ Yes. Give the details about the two most recent inventories.
      ❑
          Name of the person who supervised the taking of the inventory                        Date of             The dollar amount and basis (cost, market, or
                                                                                               inventory           other basis) of each inventory

      Robert Curry                                                                                                                                           $7,832.00


          Name and address of the person who has possession of inventory records

 27.1. Robert Curry
      Name
      2204 Louisiana Street
      Street



      Houston, TX 77002
      City                                         State             ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                           Address                                                        Position and nature of any            % of interest, if any
                                                                                                        interest

      Robert Curry                       2204 Louisiana Street Houston, TX 77002                       Owner, Owner                                      100.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
      ✔ No
      ❑
      ❑ Yes. Identify below.
          Name                           Address                                                     Position and nature of any       Period during which
                                                                                                     interest                         position or interest was
                                                                                                                                      held

                                                                                                 ,                                     From
                                                                                                                                       To

 30. Payments, distributions, or withdrawals credited or given to insiders
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
      credits on loans, stock redemptions, and options exercised?
      ❑ No
      ✔ Yes. Identify below.
      ❑




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             Name

         Name and address of recipient                                            Amount of money or description           Dates            Reason for providing
                                                                                  and value of property                                     the value


 30.1. Curry, Robert                                                                      Payments over the last year    07/27/2023        Owner Distributions
      Name                                                                                               $96,750.19                        and salary
      3833 Dunlavy Apt 226
      Street



      Houston, TX 77006
      City                                           State         ZIP Code


         Relationship to debtor

      Owner

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the parent corporation                                                          Employer Identification number of the parent corporation

                                                                                                    EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the pension fund                                                                Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          07/28/2023
                     MM/ DD/ YYYY




    ✘ /s/ Robert Curry                                                    Printed name                      Robert Curry
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor                Owner




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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 Fill in this information to identify the case:

 Debtor name                             Robs Bar & Grill, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                         12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     2204 Interests, LTD                                                     1/2 Payment of                                                                       $7,267.00
      c/o Greenberg & Company                                                 Rent Due
      5959 Richmond Suite 440
      Houston, TX 77057

2     Alternative Funding Group Corp                                          Merchant Cash           Disputed                                                    $34,213.57
      1000 NW 65th Street Suite 100                                           Advance
      Fort Lauderdale, FL 33309


3     DMKA LLC dba The Smarter                                                Merchant Cash           Disputed                                                    $30,450.00
      Merchant                                                                Advance
      345 7th Avenue
      New York, NY 10001

4     GFG Merchant Solutions LLC                                              Merchant Cash           Disputed                                                    $29,099.00
      180 Maiden Lane 15th Floor                                              Advance
      New York, NY 10038


5     Internal Revenue Service                                                Payroll Taxes                                                                       $55,957.92
      P.O. Box 7346
      Philadelphia, PA 19101-7346


6     Texas Comptroller of Public                                             Sales Tax                                                                           $47,048.99
      Accountants
      PO Box BOX 12548, MC-008
      Austin, TX 78711

7     Texas Workforce Commission                                              Payroll Taxes                                                                        $1,664.22
      PO BOX 12548, MC-008
      Austin, TX 78711


8     Vox Funding                                                             Merchant Cash           Disputed                                                    $37,866.60
      14 E. 44th Street 4th Floor                                             Advance
      New York, NY 10017



Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
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Debtor       Robs Bar & Grill, LLC                                                                            Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9




10




11




12




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Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Southern District of Texas

In re        Robs Bar & Grill, LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                     $37,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                    $25,000.00

        Balance Due ................................................................................................................................................    $12,500.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
                  Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 43 of 49


B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        07/28/2023                                              /s/ Robert C Lane
                Date                                         Robert C Lane
                                                             Signature of Attorney
                                                                                            Bar Number: 24046263
                                                                                                The Lane Law Firm
                                                                                           6200 Savoy Dr Ste 1150
                                                                                           Houston, TX 77036-3369
                                                                                            Phone: (713) 595-8200
                                                                                               Fax: (713) 595-8201

                                                                               The Lane Law Firm
                                                            Name of law firm




                                                                 Page 2 of 2
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                       SOUTHERN DISTRICT OF TEXAS
                                                             HOUSTON DIVISION

IN RE: Robs Bar & Grill, LLC                                                           CASE NO

                                                                                       CHAPTER 11




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       07/28/2023            Signature                                   /s/ Robert Curry
                                                                            Robert Curry, Owner
                 Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 45 of 49


2204 INTERESTS, LTD
C/O GREENBERG & COMPANY
5959 RICHMOND SUITE 440
HOUSTON, TX 77057



ALTERNATIVE FUNDING
GROUP CORP
1000 NW 65TH STREET SUITE 100
FORT LAUDERDALE, FL 33309



ROBERT CURRY
3833 DUNLAVY APT 226
HOUSTON, TX 77006




DMKA LLC DBA THE SMARTER
MERCHANT
345 7TH AVENUE
NEW YORK, NY 10001



GFG MERCHANT SOLUTIONS
LLC
180 MAIDEN LANE 15TH FLOOR
NEW YORK, NY 10038



GFG MERCHANT SOLUTIONS
LLC
201 ROUTE 17 NORTH SUITE 805
RUTHERFORD, NJ 07070



INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101-7346




ROBS BAR & GRILL, LLC
2204 LOUISIANA ST. SUITE C&D
HOUSTON, TX 77002
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SPECS
2410 SMITH STREET
HOUSTON, TX 77006




TEXAS COMPTROLLER OF
PUBLIC ACCOUNTANTS
PO BOX BOX 12548, MC-008
AUSTIN, TX 78711



TEXAS WORKFORCE
COMMISSION
PO BOX 12548, MC-008
AUSTIN, TX 78711



THE LANE LAW FIRM
6200 SAVOY DR STE 1150
HOUSTON, TX 77036-3369




VOX FUNDING
14 E. 44TH STREET 4TH FLOOR
NEW YORK, NY 10017
                           Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 47 of 49
Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant
        to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code,
        this Exhibit "A" shall be completed and attached to the petition.]

                                                                      [Caption as in Form 416B]

                                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                                             Bankruptcy under Chapter 11

                1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number is
                               .

                2. The following financial data is the latest available information and refers to the debtor's condition on                     .

                 a. Total assets                                                                                                   $40,076.13
                 b. Total debts (including debts listed in 2.c., below)                                                          $243,567.30
                 c. Debt securities held by more than 500 holders

                                                                                                                                   Approximate
                                                                                                                                   number of
                                                                                                                                   holders:
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 d. Number of shares of preferred stock
                 e. Number of shares common stock

                Comments, if any:


                                                                 Sports Bar
                3. Brief description of debtor's business



                 4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
        securities of debtor:




Official Form 201A                          Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                            Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 48 of 49


 Fill in this information to identify the case:

 Debtor name                             Robs Bar & Grill, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     07/28/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Robert Curry
                                                                                Signature of individual signing on behalf of debtor


                                                                                Robert Curry
                                                                                Printed name


                                                                                Owner
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 23-32814 Document 1 Filed in TXSB on 07/28/23 Page 49 of 49
                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
      IN RE: Robs Bar & Grill, LLC                                     CASE NO

                                                                       CHAPTER 11



                         DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                               PETITION, LISTS, STATEMENTS, AND SCHEDULES


PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or
limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in
accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically in this
case. I have read the information provided in the petition, lists, statements, and schedules to be filed electronically in
this case and I HEREBY DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as
the social security information disclosed in this document, is true and correct. I understand that this Declaration is to
be filed with the Bankruptcy Court within five (5) business days after the petition, lists, statements, and schedules have
been filed electronically. I understand that a failure to file the signed original of this Declaration will result in the
dismissal of my case.

❑       [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
        I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I
        am aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the
        relief available under each chapter, and choose to proceed under chapter 7.
✔
❑       [Only include if petitioner is a corporation, partnership or limited liability company] --
        I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists,
        statements, and schedules on behalf of the debtor in this case.

Date                                 /s/ Robert Curry
07/28/2023
                          Robert Curry
                          Owner
                          EIN No. 3 6 2 7




PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part
I herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States
Code, and have explained the relief available under each such chapter.

Date                                /s/ Robert C Lane
07/28/2023                Robert C Lane
                          Attorney
